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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
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                                                               :
UNITED STATES OF AMERICA                                       :
                                                               :      19 Cr. 366 (LGS)
                           -against-                           :
                                                               :           ORDER
STEPHEN M. CALK,                                               :
                                             Defendant.        :
------------------------------------------------------------- X
LORNA G. SCHOFIELD, District Judge:

        WHEREAS, pursuant to the Court’s prior order (Dkt. No. 180), the parties have submitted

their respective exhibit lists noting those exhibits as to which there are objections and the bases for

objection (Dkt. No. 184). These include defense objections to groups of exhibits that appear to be

related, and Government objections to what appears to be a substantial majority of defense exhibits.

        WHEREAS, it is the Court’s practice to admit undisputed exhibits at the beginning of trial,

and to rule on disputed exhibits, to the extent feasible and practical, at the final pretrial conference.

It is therefore

        ORDERED that, by June 1, 2021, the parties shall file a joint letter succinctly explaining

their objections and responses. The parties shall, when possible, address groups of exhibits and/or

provide examples or use other mechanisms to facilitate the parties’ briefing and the Court’s rulings.

The letter should be organized to provide the objection and, immediately after, the response to the

objection. To the extent the letter addresses a group of exhibits with one argument, the letter should

clearly identify all exhibits to which the argument applies. The parties shall agree on a date to

exchange the explanations of their objections, leaving sufficient time for the opposing party to

prepare a response and for the parties to combine the results in a joint letter.


Dated: May 18, 2021
       New York, New York
